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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF GEORGIA
                               SAVANNAH DIVISION



KAYLA SOPER,

               Plaintiff,                                 CIVIL ACTION NO.: 4:20-CV-324

       v.

CHIPOTLE MEXICAN GRILL OF
COLORADO, LLC,

               Defendant.



                              RULE 26 INSTRUCTION ORDER

       The above captioned case having recently been filed in this Court, the Court issues the

following Order to provide instructions to the parties regarding their initial discovery obligations

and to institute initial case management proceedings.

I.     Rule 26(f) Conference

       Federal Rule of Civil Procedure 26(f) requires the parties to confer, develop a proposed

discovery plan, and submit a report to this Court. Subsequent to the filing of the report, a

Scheduling Order must be entered pursuant to Federal Rule of Civil Procedure 16(b). Therefore,

by the earlier of (1) sixty (60) days after any defendant has been served with the complaint; or

(2) forty-five (45) days after any defendant has appeared, the parties shall confer as provided in

Rule 26(f). See Local R. 26.1(a).1 For removed cases, the parties shall be guided by the

deadlines in Local Rule 26.1(e).



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  The Rule 26(f) Conference may be held telephonically and should be attended by any unrepresented
parties and counsel for any represented parties.
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        During the Rule 26(f) Conference, the parties shall discuss the nature and bases of their

claims and defenses, the possibilities for a prompt settlement or resolution of the case, and the

scope, type, manner, and costs of discovery. The discussion of claims and defenses shall be a

substantive, meaningful discussion. In addressing settlement or early resolution of the case,

counsel shall not only explore the feasibility of alternative dispute resolution between

themselves, but shall also discuss the potential for settlement and alternative dispute resolution

with their clients as well. The parties shall also make or arrange for the disclosures required by

Rule 26(a)(l) and develop their joint proposed scheduling/discovery plan. The parties shall use

the updated Form Rule 26(f) Report for use in Judge Baker cases as a guide for their conference.

These are only the minimum requirements for the meeting. The Court orders the parties to have

a comprehensive discussion and to approach the meeting in good faith and with cooperation.

II.     Rule 26(f) Report

        Within fourteen (14) days after the required Rule 26(f) Conference, the parties shall

submit to the Court a written Report outlining their discovery plan. See Local R. 26.1(b). The

Report shall conform to the language and format of the Form Rule 26(f) Report for use in Judge

Baker cases located on the Court’s website www.gasd.uscourts.gov under “Forms.”2 The parties

must use that Form as well as this Instruction Order to guide their discussion at the Rule 26(f)

Conference.

        The parties shall work together to prepare the Report, and the deadlines in the Report

should be mutually agreeable, with a view to achieving resolution of the case with a minimum of


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   The Form Rule 26(f) Report has been updated as of November 20, 2018. The parties must use this
updated Form when filing their Report. Additionally, the updated form is a fillable Word document;
when using this fillable Word document, the parties are reminded to follow the Court’s procedures for
electronic filings, detailed in Section VI below. Specifically, counsel shall not print and then scan the
Rule 26(f) Report before filing but instead directly convert the completed report into a text-searchable
PDF for filing.


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expense and delay. To the extent the parties cannot agree on an item in the Report, they shall so

indicate on the Report. A party who cannot gain the cooperation of any other party in preparing

the Rule 26(f) Report shall advise the Court of the other party’s failure to cooperate prior to the

Report filing deadline.

         Should any party seek a stay of discovery or of their obligation to file the Rule 26(f)

Report, or seek the extension of any other deadline in this case (including an extension of

discovery, a deadline to respond to a motion, or to file any other pleading), the party shall first

contact all other parties and determine if the other parties join in, consent to, or oppose the

request. When filing the motion for an extension, the party requesting the extension must state in

their motion whether the other parties join in, consent to, or oppose the request for a stay or an

extension.

III.     Electronically Stored Information

         During the Rule 26(f) Conference, the parties shall specifically discuss the preservation

and production of electronically stored information. That discussion shall include:

         a. What electronic sources and records the party maintains and how the party’s
            electronic data and records are stored;

         b. The electronic sources and records each party will search, and the method of search
            that will be used (including any search terms);

         c. The difficulty/ease of retrieving various data and information, and who will bear the
            costs of retrieval and production;

         d. The format and media agreed to by the parties for the production of electronically
            stored information (including any production of meta-data) as well as agreed
            procedures for such production;


         e. The persons most familiar with the party’s computer and electronic storage system
            and the persons who are responsible for preservation of electronically stored
            information, including any third parties who may have access to or control over any
            such information;


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        f. Whether reasonable measures have been implemented to preserve data including the
           party’s document retention/destruction policy, whether the party has placed a
           “litigation hold” preventing destruction of potentially relevant records, and whether
           the issuance of a preservation order is required; and

        g. The extent to which search and disclosure of electronic data should be limited to that
           which is available in the normal course of business, or otherwise, and the anticipated
           scope, cost, and time required for search and disclosure of such information beyond
           that which is available in the normal course of business.

IV.     Privileged, Protected, and/or Confidential Information

        During the Rule 26(f) Conference, the parties shall discuss specifically the discovery and

production of privileged, protected, and/or confidential information.      That discussion shall

include:

        a. What methods the parties will employ to assert claims of privilege, protection, or
           confidentiality, including the form and substance of any privilege logs;

        b. Whether the parties anticipate discovery issues or challenges arising from non-
           disclosure of allegedly privileged, protected, or confidential information;

        c. Whether reasonable date ranges should be established after which privilege log
           entries for privileged, protected, or confidential information need not be made;

        d. Whether the parties will request a protective order to prevent the further release of
           information disclosed in discovery; and

        e. As contemplated by Rule 502(e) of the Federal Rules of Evidence, whether there is a
           need for the terms of any agreement regarding disclosure of privileged attorney-
           party communications or confidential work product to be incorporated into a court
           order, and whether the parties will seek court approval of any such agreement.

V.      Scheduling Conference

        The Court may hold a Scheduling Conference after receipt of the parties’ Rule 26(f)

Report and before issuing a Scheduling Order. At that conference, the Court will discuss in

detail the parties’ proposed discovery plan and scheduling order as well as any issues the parties

raise in their Rule 26(f) Report. This Conference need only be attended by counsel and by any



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unrepresented parties. Ordinarily, the Court will allow appearance at the scheduling conference

via telephone. If a Scheduling Conference is necessary, it should be held no more than twenty

(20) days after the submission of the parties’ Rule 26(f) Report.

VI.     Form of Electronic Filings

        The parties are directed to read and follow the Court’s revised Administrative Procedures

for Filing, Signing, and Verifying Pleadings and Papers by Electronic Means, available on the

Court’s website www.gasd.uscourts.gov under “For Attorneys” and “Administrative Procedures

for Electronic Filing.” Documents in their native format such as Word or WordPerfect must be

converted into a text-searchable PDF before filing. Most word processing applications allow

publishing or converting to PDF within the application. There are also commercial and free PDF

converters available for use. Participants should not print and scan electronic documents for

submission into CM/ECF. Documents should not be scanned prior to e-filing unless the

original documents are unavailable in electronic format or require original signature.

Attachments not available in electronic format shall be scanned by the filer into PDF format for

electronic submission. The participant is responsible for the legibility of the uploaded image.

For assistance with conversion or scanning, contact the CM/ECF Helpdesk at 912-650-4010 or

ecf_web@gasd.uscourts.gov.

VII.    Resolution of Discovery Disputes

        The Court hereby ORDERS all parties to take the following steps prior to the filing of

any discovery motions. This includes any motions filed pursuant to Title V of the Federal Rules

of Civil Procedure, including but not limited to motions to compel, motions to quash, motions for

a protective order, disputed motions for extension of time to conduct discovery, disputed motions

for examination, and motions for discovery sanctions.




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    1. The parties are strongly encouraged to informally resolve all discovery issues and

        disputes without the necessity of Court intervention. In that regard, the parties are first

        required to confer and fully comply with Federal Rules of Civil Procedure 26(c)(1) and

        37(a)(2), and Local Rule 26.5, by undertaking a sincere, good faith effort to try to resolve

        all differences without Court action or intervention.

    2. In the event that the parties are unsuccessful in their reasonable, good faith efforts to

        confer and resolve any differences, they must then schedule a telephonic conference with

        the Magistrate Judge in an effort to resolve the discovery dispute prior to the filing of any

        motions.3 The parties must exhaust the first two steps of the process before filing any

        motions, briefs, memorandum of law, exhibits, deposition transcripts, or any other

        discovery materials with the Court.

    3. If the dispute still cannot be resolved following a telephonic conference with the

        Magistrate Judge, then the Court will entertain a discovery motion. In connection with

        the filing of any such motions, the moving party shall submit the appropriate

        certifications to the Court as required by Federal Rules of Civil Procedure 26(c)(1) and

        37(a)(2).

    4. The Court will refuse to hear any discovery motion unless the parties have made a

        sincere, good faith effort to resolve the dispute and all the above-identified steps have

        been strictly complied with. Failure to fully comply with all of the prerequisite steps may

        result in a denial of any motion, with prejudice, and may result in an award of costs and

        reasonable attorney’s fees.

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  Counsel may schedule such a conference by contacting the Magistrate Judge’s Courtroom Deputy Clerk
and advising the Deputy Clerk that the parties have a discovery dispute about which they need the Court’s
assistance. Unless directed otherwise, the parties shall not provide the Deputy Clerk or any Court
personnel any substantive information regarding the discovery dispute prior to the conference with the
Magistrate Judge.


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                                        CONCLUSION

       Plaintiff’s counsel, or if applicable, the pro se plaintiff, shall ensure that a copy of this

Order is served upon all parties without delay.

       SO ORDERED, this 30th day of December, 2020.




                                      R. STAN BAKER
                                      UNITED STATES DISTRICT JUDGE
                                      SOUTHERN DISTRICT OF GEORGIA




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